   Case: 3:20-cv-00475-PBS Doc #: 17 Filed: 12/03/21 Page: 1 of 1 PAGEID #: 1409




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION


JESSICA R. MURPHY,                      )
           Plaintiff,                   )      Civil Action No: 3:20-cv-00475
                                        )
          v.                            )
                                        )
Kilolo Kijakazi,                        )      Magistrate Judge Peter B. Silvain, Jr.
Acting Commissioner                     )
of Social Security,                     )
              Defendant.                )

                                               ORDER

          This cause coming before the Court on a joint motion of the parties, due notice having

been given, and the Court being fully advised, it is hereby ordered that:

          The findings of the ALJ, including the prior non-disability finding shall be vacated and

this matter shall be remanded back to the Commissioner for further administrative

proceedings pursuant to Sentence Four of Section 205 of the Social Security Act, 42 U.S.C. §

405(g).

December 3, 2021                                       ________________________
                                                       s/Peter B. Silvain, Jr.
                                                       Peter B. Silvain, Jr.
                                                       U.S. Magistrate Judge
